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AO 91 (Rev 8/01) CriminalComplaint

United States District Court

 

 

 

    
    
 

soUTHERN DISTRICT oF t TEXAS
McALLEN DIVISION
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uNlTEl) sTATEs or AMERICA "M‘"'°‘i» 5 »F §3? vw353 .
V- 1 CRIMINAL COMPLAINT

Eduardo Roman-Martinez 853 2 1 2018
' Case Number: M-lS-,'ZQQ“ -M

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iAE ~ YoB: l 1998

IV|exico "
(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

 

knowledge and bellief. On or about December 20, 2018. in Hida|qo COurlty, irl

 

the Southern District of Texas
(Track Statulo/'y Language of Ojj’ense) ‘
being then and there an alien who had previously been deported from the United States to Mexico in pursuance oflaw, and thereafter

was found near Alton, Texas, within the Southern District of Texas, the Attorney General ofthe United States and/or the Sccretary of
Homeland Security, not theretofore having consented to a reapplication by the defendant for admission into the United States;

in violation ofTitle 8 United States Code, Section(s) 1326 (Fe|ony)
I further state that l am a(n) Senior Patrol Agent and that this complaint is based on the.
following facts: ‘

 

Eduardo Roman-Martinez was encountered by Border Patrol Agents near Alton, Texas on December 20, 2018. The investigating
Agent established that the Defendant was an undocumented alien and requested record checks. The Defendant claims to have illegally
entered the United States on November 12, 2018, near Hidalgo, Texas. Record checks revealed the Defendant was formally
Deported/Excluded from the United States on November 8, 2018 through Hidalgo, Texas. Prior to Deportation/Exclusion the
Defendant was instructed not to return to thc United States without permission from the U.S. Attorney General and/or the Secretary
of Homeland Security. '

Continued on the attached sheet and made a part ofthis complaint: EYes No

il

Sworn to before me and subscribed in rriy presence, Signature o ant

December 21, 2018 ~ 31 S'z@.a. .

 

L. Burgos Senior Patrol Agent

   
 

Juan F. Alanis , U.S. IVlagistrate Judge ' ‘
Name and rifle of Judicial officer %§i/gnature of Judicial officer

 

